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                        UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF NEW YORK

In re

CUSTOMS AND TAX ADMINISTRATION OF
THE KINGDOM OF DENMARK
(SKATTEFORVALTNINGEN) TAX REFUND                      Master Docket 18-md-02865 (LAK)
SCHEME LITIGATION                                     ECF Case

This document relates to: 1:19-cv-01867-LAK,
1:19-cv-01868-LAK, 1:19-cv-01869-LAK,
1:19-cv-01895-LAK, 1:19-cv-01896-LAK,
1:19-cv-01898-LAK, 1:19-cv-01904-LAK,
1:19-cv-01906-LAK, 1:19-cv-01911-LAK,
1:19-cv-01924-LAK




          DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF
   THEIR MOTION TO DISMISS THE COMPLAINTS PURSUANT TO FEDERAL
                 RULE OF CIVIL PROCEDURE 12(b)(1)



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                                PRELIMINARY STATEMENT

       The Complaints1 in these cases allege that Defendants engaged in a scheme to obtain tax

refunds for withheld dividend taxes paid by Danish companies. As this Court observed in its

revenue-rule decision, Defendants are alleged to have received “many millions of dollars in tax

refunds from the Danish treasury under false and fraudulent pretenses.” In re Skat Tax Refund

Scheme Litig., 356 F. Supp. 3d 300, 308 (S.D.N.Y. 2019). Because the allegations are based on

a claim that money was wrongfully taken from the Danish treasury, any injury from Defendants’

alleged fraud belongs to the Danish treasury.

       But neither the Danish treasury nor even the Danish ministry responsible for

administering its funds brought this case. Rather, the plaintiff is Skatteforvaltningen (SKAT),

the Danish agency responsible for the assessment and collection of taxes in Denmark. SKAT is

not part of the Danish treasury and does not own or have legal title to the tax revenues that it

claims were paid out as a result of Defendants’ alleged fraud. As a result, SKAT lacks standing

to sue. The tax revenues belonged at all times to the Kingdom of Denmark itself—not SKAT—

and so SKAT suffered no constitutionally cognizable injury when the allegedly wrongful

reclaims were paid using Denmark’s treasury funds.

       U.S. law is clear that the party invoking federal court jurisdiction must have a concrete

and personal injury, and may not—except under circumstances not present here—assert the

rights of a third party or a principal. That rule applies equally to foreign governments and their




1
       Defendants Richard Markowitz, Jocelyn Markowitz, Avanix Management LLC Roth
401(K) Plan, Batavia Capital Pension Plan, Calypso Investments Pension Plan, Cavus Systems
LLC Roth 401(K) Plan, Hadron Industries LLC Roth 401(K) Plan, RJM Capital Pension Plan,
and Routt Capital Pension Plan (collectively, Defendants) named in the complaints (Complaints)
that SKAT filed in the cases enumerated in the above caption bring this motion.


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agencies. A foreign governmental agency cannot bring suit to vindicate claims that belong to the

sovereign itself. Therefore, the agency lacks standing to sue, and the cases must be dismissed.

                                         BACKGROUND

       A.      SKAT’s Role In Assessing And Collecting Danish Taxes

       SKAT is “the agency of the government of Denmark charged with the assessment and

collection of Danish taxes.” Compl. ¶ 16, Skatteforvaltningen v. RJM Capital Pension Plan, No.

19-cv-01898 (S.D.N.Y. Feb. 28, 2019). This “charge[]” results from several carefully defined

statutory authorities and responsibilities related to taxation, including the State Tax Act, the

Danish Tax Assessment Act, the Danish Tax Control Act, and the Collection of Debt Act. See

Declaration of Kasper Bech Pilgaard (“Pilgaard Decl.”) ¶¶ 35, 43-46. While the tools available

in Denmark for SKAT to fulfill these responsibilities are broad—such as the authority to impose

a lien, to attach a taxpayer’s income or salary, and to set-off a taxpayer’s debt against an amount

owed to the public—in all instances, they directly relate to or involve the assessment of an

identified tax. Pilgaard Decl. ¶ 47.

       SKAT’s involvement with Danish tax revenues ceases after the assessment of taxes is

complete. Danish law provides that a separate ministry, the Ministry of Finance, has control and

responsibility for the funds collected. Pilgaard Decl. ¶¶ 21-27. In accordance with the

Constitution of Denmark and other statutes, these funds are paid to what are referred to as the

“Public Accounts.” Pilgaard Decl. ¶¶ 9-10. SKAT does not manage the Public Accounts. That

responsibility, which originates with the Ministry of Finance, is delegated by the Ministry of

Finance to the Agency for Modernisation. Pilgaard Decl. ¶ 11.

       SKAT does not enjoy the benefits, nor bear the burdens, if it collects more or less tax

revenue than the Danish government anticipated. SKAT cannot keep any surpluses in taxes

collected, nor must it reimburse the Danish treasury or the Ministry of Finance for any deficits.


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Pilgaard Decl. ¶¶ 37, 42. While SKAT may have the capacity to pursue claims owed in the event

of an unretrieved tax owed to Denmark, this is not a liability for which SKAT must compensate

the Danish treasury if it is unsuccessful (nor, for that matter, is that the kind of claim raised

here). At bottom, SKAT suffers no loss, and in turn no injury, if it is wholly or partially

unsuccessful in its tax collection efforts.

        The Constitution of Denmark and enacting statutes passed by the Danish Parliament

enshrine the clear division between the assessment of funds owed and the administration of funds

collected. Pursuant to Section 46(2) of the Constitution of Denmark, state funds can only be

spent if authorized by the Finance Act, which is passed by the Danish Parliament. Pilgaard Decl.

¶ 8. Various Danish laws then govern the process by which the Ministry of Finance maintains

and distributes tax revenues, Pilgaard Decl. ¶ 23 (citing Provision 2(2) and 3 in the State

Account’s Act), but none mentions or contemplates a role for SKAT. Not only does SKAT have

no authority to decide how the tax revenues it collects are apportioned, but it also must lobby the

Danish Parliament for funding for its operations like every other ministry. Pilgaard Decl. ¶ 16.

        By the same token, if a ministry or agency spends more than it is allotted in the budget,

then the Ministry of Finance, not SKAT, must request additional funding from the Danish

Parliament, which can authorize funding through a supplementary permit. Pilgaard Decl. ¶¶ 19-

20. And the Ministry of Finance, not SKAT, is responsible for the payment of Denmark’s debts.

Pilgaard Decl. ¶ 27. To the extent that tax revenues fall short, the Danish Parliament and the

Ministry of Finance have the responsibility to fill the gap through additional borrowing,

reductions in spending, or by authorizing additional taxation. Pilgaard Decl. ¶ 20. SKAT is not

responsible for collecting more funds or disbursing money from its own budget in the event of a

budget or collection deficit.




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          B.     This Litigation

          As this Court has explained, this constellation of cases centers on SKAT’s claim that

“defendants defrauded it of millions of dollars by submitting tax refund claims in which they

falsely claimed to own stocks in Danish companies that had paid dividends net of withholding

tax.” 356 F. Supp. 3d at 307. The Complaints are sparse with respect to SKAT’s supposed

standing. SKAT identifies itself as “the agency of the government of Denmark charged with the

assessment and collection of Danish taxes,” Compl. ¶ 16, and it alleges that it was defrauded into

making payments to Defendants on specified dates. The Complaints do not allege, however, that

SKAT had any ownership interest in or title to the tax revenues it paid on behalf of the Kingdom

of Denmark, nor do they allege that SKAT sues here on behalf of the Kingdom or the Danish

treasury. The Court has not yet addressed SKAT’s standing; rather, it has only denied certain

defendants’ motions to dismiss similar complaints based on the revenue rule, concluding that

nothing in those complaints required direct enforcement of Danish tax law because SKAT “has

not alleged a single instance of tax evasion—it alleges fraud, pure and simple.” 356 F. Supp. 3d

at 311.

                                            ARGUMENT

          The plaintiff bears the burden of establishing subject-matter jurisdiction, and so it “must

allege facts that affirmatively and plausibly suggest that it has standing to sue.” Amidax Trading

Grp. v. S.W.I.F.T. SCRL, 671 F.3d 140, 145 (2d Cir. 2011). A court must address a challenge to

the plaintiff’s standing and satisfy itself that the court has jurisdiction in order to proceed with

the case. See Chau v. SEC, 72 F. Supp. 3d 417, 421 (S.D.N.Y. 2014) (Kaplan, J.) (“The Court

must address the threshold question of whether it has subject matter jurisdiction before

considering the merits.”), aff’d, 665 F. App’x 67 (2d Cir. 2016).




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        Where the defendant challenges the court’s subject-matter jurisdiction—including the

plaintiff’s standing—the court is not confined to the complaint and may refer to evidence outside

the pleadings, such as affidavits and exhibits. See Makarova v. United States, 201 F.3d 110, 113

(2d Cir. 2000). That includes assertions of foreign law, which under Federal Rule of Civil

Procedure 44.1 must be presented to the court on “notice by a pleading or other writing.” See

Faggionato v. Lerner, 500 F. Supp. 2d 237, 244 (S.D.N.Y. 2007). The party raising an issue of

foreign law at the motion to dismiss stage bears the burden of proving the foreign law such that

the district court can apply it. See Bigio v. Coca-Cola Co., 2010 WL 3377503, at *4 (S.D.N.Y.

Aug. 23, 2010), aff’d, 675 F.3d 163 (2d Cir. 2012). Pursuant to Rule 44.1, Defendants submit

the declaration of Kasper Bech Pilgaard, a Danish lawyer, to support their contentions regarding

Danish law.

        A.      The Court Lacks Subject Matter Jurisdiction Because SKAT Lacks Standing

        “Article III of the Constitution limits federal courts’ jurisdiction to certain ‘Cases’ and

‘Controversies,’” and “‘[o]ne element of the case-or-controversy requirement’ is that plaintiffs

‘must establish that they have standing to sue.’” Clapper v. Amnesty Int’l USA, 568 U.S. 398,

408, 133 S. Ct. 1138, 1146 (2013) (citations omitted). This dispute turns on the “injury” prong.

“Art[icle] III requires the party who invokes the court’s authority to show that he personally has

suffered some actual or threatened injury as a result of the putatively illegal conduct of the

defendant.” Valley Forge Christian Coll. v. Americans United for Separation of Church & State,

Inc., 454 U.S. 464, 472, 102 S. Ct. 752, 758 (1982) (internal quotation marks omitted). Standing

also requires that a party assert its own injury, not the injury of third parties, unless there is a

clear assignment or some other interest. See Warth v. Seldin, 422 U.S. 490, 499, 95 S. Ct. 2197,

2205 (1975) (“[E]ven when the plaintiff has alleged injury sufficient to meet the ‘case or

controversy’ requirement, this Court has held that the plaintiff generally must assert his own


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legal rights and interests, and cannot rest his claim to relief on the legal rights or interests of third

parties.”); see also Cortlandt St. Recovery Corp. v. Hellas Telecomms., S.a.r.l, 790 F.3d 411, 420

(2d Cir. 2015) (“Our caselaw confirms that a purported assignee of a claim must plead a

proprietary interest in that claim, and not simply the ability to pursue the claim on behalf of

another, to bring the claim in his or her own name and satisfy the requirements of constitutional

standing.”); W.R. Huff Asset Mgmt. Co., LLC v. Deloitte & Touche LLP, 549 F.3d 100, 111 (2d

Cir. 2008) (holding that plaintiff’s “status as both an attorney-in-fact for litigation purposes and

an investment advisor with unfettered discretion over its clients’ investment decisions does not

confer on [the plaintiff] Article III standing to sue in a representative capacity on its clients’

behalf”).

        A foreign government, like a domestic individual or corporation, is required to meet the

requirements of Article III standing to bring suit. See Estados Unidos Mexicanos v. DeCoster,

229 F.3d 332, 336 (1st Cir. 2000) (“The Supreme Court ‘has long recognized the rule that a

foreign nation is generally entitled to prosecute any civil claim in the courts of the United States

upon the same basis as a domestic corporation or individual might do.’”) (citing Pfizer, Inc. v.

Gov’t of India, 434 U.S. 308, 318-19, 98 S. Ct. 584, 591 (1978)).

        B.      SKAT, Not The Kingdom Of Denmark, Brought This Action, and SKAT Has
                Not Suffered an Injury

        SKAT filed suit on its own behalf to recover revenues that it claims it was defrauded into

paying. The threshold problem with that submission, however, is that SKAT had no claim or

title to, nor interest in, those revenues. They belong to the Kingdom of Denmark, not SKAT, and

the Kingdom of Denmark is not before the Court. SKAT has not suffered any loss by virtue of

having paid dividend reclaims, and it is not responsible for recovering any purported deficit.

SKAT, the sole plaintiff here, must demonstrate that it meets the causation, injury, and



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redressability requirements of standing to maintain its claims in federal court. But it is merely an

agency of the Danish government, with highly circumscribed authorities and no ownership over

the funds that it collects from tax assessments. It accordingly lacks standing to sue, and the

Complaints should be dismissed.

        To start, the allegations in the Complaints do not state a particularized and concrete harm

to SKAT; they merely allege that SKAT is “the agency of the government of Denmark charged

with the assessment and collection of Danish taxes,” Compl. ¶ 1, and appear to assume the rest of

the analysis. But this is not sufficient to show that SKAT has an independent basis for

establishing injury separate from the Kingdom of Denmark. At no point do the Complaints

allege that SKAT owns or is otherwise entitled to the money it collects. See, e.g., Keepers, Inc.

v. Milford, 807 F.3d 24, 40 (2d Cir. 2015) (“[C]ourts are not permitted to simply assume

[plaintiff’s] standing to assert the rights of … third parties”).

        SKAT will no doubt insist that because it received the purportedly false reclaims and

alleges that tax revenue was taken “from SKAT,” it must have suffered the requisite injury. But

on a Rule 12(b)(1) motion, this Court is permitted to look beyond the complaint to determine the

true nature of the injury. See Makarova, 201 F.3d at 113. In this case, no money could have

been taken “from SKAT” because any money that SKAT paid out as part of a dividend reclaim

belonged to the Kingdom of Denmark. As explained in the accompanying declaration and above

(see supra pp. 2-4), the administrative structure of the Danish government confirms this. SKAT

acts pursuant to its statutory authority to assess and collect taxes; it has a nondiscretionary duty

to remit what it collects to the Public Accounts. It does not decide how the tax revenues are

allocated among government agencies, does not distribute the revenues it collects, and, most

importantly, is not responsible for the consequences of a deficit in revenue collection.




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Pilgaard Decl. ¶¶ 26, 38, 41. That authority and responsibility rest with the Kingdom of

Denmark, not SKAT; the Kingdom of Denmark, through the Parliament and the Ministry of

Finance, controls the funds, their maintenance, and their expenditure. Pilgaard Decl. ¶¶ 8-10. In

short, SKAT has no skin in this game because it does not suffer a direct injury itself, and without

that injury, it does not have standing. Warth, 422 U.S. at 498-99, 95 S. Ct. at 2205 (“[T]he

standing question is whether the plaintiff has ‘alleged such a personal stake in the outcome of the

controversy’ as to warrant his invocation of federal-court jurisdiction and to justify exercise of

the court's remedial powers on his behalf. The Article III judicial power exists only to redress or

otherwise to protect against injury to the complaining party, even though the court’s judgment

may benefit others collaterally.”). SKAT is, at best, an agent for other arms of the Kingdom of

Denmark, and an agent has no standing to sue on its own. See infra pp. 10-12 .

       That SKAT accepted supposedly fraudulent dividend reclaim submissions from

Defendants and had the ability to draw on funds owned by the Kingdom of Denmark to pay them

does not establish an injury sufficient to establish standing, as Second Circuit precedent makes

clear. In W.R. Huff Asset Management Co. v. Deloitte & Touche LLP, the plaintiff investment

advisor alleged that the defendants had prepared or facilitated misleading disclosures in a

publicly traded company’s financial statements and that the plaintiff investment advisor had

purchased the company’s securities on its clients’ behalf as a result. 549 F.3d 100, 104 (2d Cir.

2008). The Second Circuit held that the investment advisor lacked standing because it was the

advisor’s clients, not the advisor itself, who suffered the financial loss when the public company

filed for bankruptcy. Therefore, the clients, and not the advisor, suffered the injury for Article III

purposes. Id. Here, as in W.R. Huff, mere allegations of relying on misrepresentations and an

associated loss—without more—do not establish injury.




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       Similarly, that SKAT has the authority to pay refunds or make other payments using

Danish treasury funds does not mean that SKAT suffers a constitutionally cognizable injury.

Again, in W.R. Huff, the investment advisor had the authority to make purchases on its clients’

behalf. 549 F.3d at 103-07. The district court incorrectly held that “unfettered discretion to

make investment decisions” was sufficient to confer standing, and the Second Circuit reversed,

noting that only the investment advisor’s clients had suffered an injury. Because the investment

advisor could not establish its own basis for injury through an assignment or other means, its

claims failed for lack of standing. Id. at 107-11.

       This principle—that possession or discretion does not suffice to establish standing, and a

party only has standing to sue if it owns the funds and suffers a direct economic impact of any

loss—applies across myriad areas of law. For example, in the civil forfeiture context, the Second

Circuit has explained that the mere possession of funds does not confer standing when those

funds are seized, as an actual injury must still be proven:

       [W]hile ownership and possession generally may provide evidence of standing, it
       is the injury to the party seeking standing that remains the ultimate focus. It is
       because of the lack of proven injury that we have, for example, denied standing to
       “straw” owners who do indeed “own” the property, but hold title to it for
       somebody else. Such owners do not themselves suffer an injury when the
       property is taken. Acknowledging that “[t]he word ‘possession’ drips with
       ambiguity,” we have similarly held that where a mere custodian has possession, it
       is only a “naked claim of possession” and does not thereby impart Article III
       standing.

United States v. Cambio Exacto, S.A., 166 F.3d 522, 527 (2d Cir. 1999) (citations omitted). In

applying this principle in Cambio Exacto, the Second Circuit held that while certain transmitters

of funds had suffered an injury sufficient to confer standing because they were ultimately liable

to their customers for the funds seized, the correspondent that merely remitted funds on behalf of

the transmitters had no liability and in turn, no injury from the seizure. Id. at 528-29. Here,

SKAT is not differently situated than the investment advisor in W.R. Huff or the correspondent in


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Cambio Exacto; it is merely an entity with authority to remit the funds at issue, but has no real

title or ownership in the funds it holds or transfers. In short, SKAT has no standing to sue under

Article III.

        C.     SKAT Does Not Have Article III Standing To Act On Any Other Party’s
               Behalf

        SKAT sues here in its own right, not on behalf of any other party. See Compl. ¶ 16

(identifying SKAT as the plaintiff based on the allegation that it “is the agency of the

government of Denmark charged with the assessment and collection of Danish taxes”). Upon

this challenge to its standing to sue on its own behalf, SKAT may purport in this matter to be

acting on behalf of of the Kingdom of Denmark to recover the amounts paid from the Danish

treasury for the reclaims, but there is no legal authority that provides SKAT with standing here.

SKAT appears to assume, by virtue of this litigation, that it can act with the same legal authority

and standing as the Kingdom of Denmark. But SKAT and the Kingdom of Denmark are distinct

entities, and an instrumentality of a foreign government does not automatically possess all of the

same legal benefits or burdens as the foreign government itself.

        First, even if SKAT purports to act as an agent of the Danish government, an agent is not

imbued with standing simply by virtue of its agency relationship with a principal that does have

standing. See Artists Rights Enf’t Corp. v. Estate of Robinson, 2017 WL 933106, at *5

(S.D.N.Y. Mar. 8, 2017) (“Defendants are correct that a mere agent of a principal does not have

standing.”); Utilisave, LLC v. Spark Energy, L.P., 2011 WL 2174855, at *1 (E.D.N.Y. May 31,

2011) (“The Second Circuit has clearly declared that a mere agency relationship, without an

assignment of a claim, is insufficient to meet the constitutional injury-in-fact requirement.”); cf.

Dir., Office of Workers' Comp. Programs v. Newport News Shipbldg. & Dry Dock Co., 514 U.S.

122, 132, 115 S. Ct. 1278, 1286 (1995) (“Agencies do not automatically have standing to sue for



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actions that frustrate the purposes of their statutes.”). Rather, an agent must demonstrate that it

has an independent basis for standing, such as being a party to or having an interest in a contract,

see Artists Rights, 2017 WL 933106, at *5, or that it has been assigned ownership or title in the

claims at issue, see W.R. Huff Asset Mgmt. Co., 549 F.3d at 108. But SKAT has not alleged any

independent injury in the Complaints, and SKAT has not established, as required to defeat a Rule

12(b)(1) motion, that it suffered a direct injury sufficient to confer standing.

       Second, nor does SKAT purport to be acting pursuant to any valid assignment of claims

from their rightful owner. The Complaints include no such allegations. An agent or third party

may obtain standing if there is a valid assignment of the claims at issue by the individual or

entity who suffered the actual injury. Under established Second Circuit law, “[t]o assign a claim

effectively, the claim’s owner ‘must manifest an intention to make the assignee the owner of the

claim … i.e., to accomplish ‘a completed transfer of the entire interest of the assignor in the

particular subject of assignment.’” Cortlandt St., 790 F.3d at 418. However, a grant to

commence and prosecute suits, without a grant of title or ownership, merely creates a power of

attorney that is insufficient to grant constitutional standing. Id. The rules governing assignment

apply equally to government entities. See Fed. Treasury Enter. Sojuzplodoimport v. SPI Spirits

Ltd., 726 F.3d 62, 77 (2d Cir. 2013) (holding that trademark claims had not been properly

assigned under Russian and federal law because Russian Federation retained various rights and

did not vest state-chartered entity with ownership in claims).

       If SKAT purports to sue as an assignee, it bears the burden of pleading that proposition

and establishing its factual basis. See Mid-Hudson Catskill Rural Migrant Ministry, Inc. v. Fine

Host Corp., 418 F.3d 168, 174 (2d Cir. 2005). It failed to do so in the Complaints, and it does

not appear that there is any basis to do so through amendment. There is no Danish law or




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regulation that SKAT can point to that confers upon it ownership or title to the funds or the

claims. The various Danish statutes outlining SKAT’s authorities relate to its ability to collect

taxes and administer the tax laws. Pilgaard Decl. ¶¶ 43-46. While these laws and regulations

allow SKAT to collect or pay Danish treasury funds as part of its tax-related responsibilities,

they do not allow assignment of title, ownership, or interest in the claims at issue. Pilgaard Decl.

¶ 40. Under clearly established Second Circuit law, it is not enough that a party has the ability to

pursue a claim for a debt in court; it must have underlying ownership as well. See Cortlandt St.,

790 F.3d at 420 (“Our caselaw confirms that a purported assignee of a claim must plead a

proprietary interest in that claim, and not simply the ability to pursue the claim on behalf of

another, to bring the claim in his or her own name and satisfy the requirements of constitutional

standing.”); W.R. Huff Asset Mgmt. Co., 549 F.3d at 107. Accordingly, because SKAT has not

been assigned these claims, it lacks standing on this basis.

       D.      Because SKAT Lacks Standing To Sue, The Cases Should Be Dismissed

       “A court may not permit an action to continue … if jurisdiction was lacking at the

commencement of a suit.” Cortlandt St., 790 F.3d at 422 (citations and alterations omitted).

Because SKAT, the sole plaintiff, lacked standing at the commencement of this suit to bring any

claims, the Complaints should be dismissed. Should the Court elect a remedy short of dismissal

and provide SKAT with an opportunity to amend the Complaints under Rule 15, or to substitute

a party under Rule 17, and should a substitute plaintiff seek to take SKAT’s place, Defendants

reserve their right to challenge that party’s standing or assert any other applicable defenses

against claims raised by a different plaintiff.




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                                      CONCLUSION

       For the foregoing reasons, the Complaints should be dismissed against all Defendants in

the above captioned cases.


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